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  15                            UNITED STATES DISTRICT COURT
  16                          CENTRAL DISTRICT OF CALIFORNIA
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        IN RE: NATIONAL FOOTBALL                       Hon. Philip S. Gutierrez
  19    LEAGUE’S “SUNDAY TICKET”
        ANTITRUST LITIGATION
  20                                                   CASE NO.: 2:15-ml-02668−PSG
                                                       (JEMx)
  21
                                                       CLASS ACTION
  22

  23                                 JOINT STATUS REPORT ON
        THIS DOCUMENT RELATES TO ALL SUBSTANTIAL PRODUCTION
  24    ACTIONS                      OF DIRECTV’S USABLE
                                     TRANSACTIONAL DATA AND
  25                                 [PROPOSED] ORDER
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   1         Pursuant to the Court’s April 20, 2021 Order vacating the April 22, 2021 deadline
   2   for substantial production of DIRECTV, LLC’s and DIRECTV Holdings LLC’s
   3   (collectively, “DIRECTV’s”) usable transactional data, Dkt. 321, and Plaintiffs’ and
   4   DIRECTV’s December 15, 2021 report indicating they would provide another update
   5   by January 18, 2022, Dkt. 375, Plaintiffs and DIRECTV state as follows:
   6         1.     On September 23, 2021, DIRECTV made the viewership data available for
   7   copying.
   8         2.     On December 20, 2022, DIRECTV sent Plaintiffs and the National
   9   Football League the transactional data on encrypted hard drives.
  10         3.     Given that DIRECTV has produced the usable viewership and
  11   transactional data, DIRECTV and Plaintiffs respectfully request that the Court vacate
  12   its April 20, 2021 Order requiring an update to the Court on the status of negotiations.
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   1   Dated: January 18, 2022
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        By: /s/ Ian M. Gore                      By: /s/ Daniel M. Petrocelli
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   1                                SIGNATURE CERTIFICATION
   2          Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories listed,
   3   and on whose behalf this filing is submitted, concur in the filing’s content and have
   4   authorized this filing.
                                                 By: /s/Daniel M. Petrocelli
   5                                                 DANIEL M. PETROCELLI
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